                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In Re:
          Kimberly Renee Coiner                         Case No.       16-82323-CRJ-13
                                                        Chapter:       13

          SSN# XXX-XX-9673


                SPECIAL COUNSEL’S MOTION FOR PROTECTIVE ORDER


          COMES NOW the Special Counsel, Trent Lowry and Heath Meherg of the firm of

 Griffith, Lowry & Meherg, LLC, and files this motion for protective order pursuant to Rule 1.6

 (Confidentiality of Information) of the Alabama Rules of Professional Conduct. In support

 thereof, Special Counsel shows the following:

          1.     Special Counsel has been requested to disclose certain information that may be in

 violation of Rule 1.6(a), Ala. R. Prof’l Conduct.

          2.     Special Counsel seeks to be transparent with this Court, but first needs a protective

 order to avoid the possibility of violating Rule 1.6, Ala. R. Prof’l Conduct.

          3.     Rule 1.6(b) allows the disclosure of otherwise protected confidential information

 in certain circumstances:

          (b) A lawyer may reveal such information to the extent the lawyer reasonably
          believes necessary:
          (1) To prevent the client from committing a criminal act that the lawyer believes is
          likely to result in imminent death or substantial bodily harm; or
          (2) To establish a claim or defense on behalf of the lawyer in a controversy between
          the lawyer and the client, to establish a defense to a criminal charge or civil claim
          against the lawyer based upon conduct in which the client was involved, or to
          respond to allegations in any proceeding concerning the lawyer's representation of
          the client.

 Ala. R. Prof’l Conduct R. 1.6(b).




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        4.      Upon consultation with the Alabama State Bar and a review of the Comments to

 Rule 1.6, Special Counsel requests that a protective order be entered in this case before any further

 disclosure is requested. See Ala. R. Prof’l Conduct R. 1.6 cmt. (“. . . obtain protective orders or

 make other arrangements minimizing the risk of disclosure.”).

        WHEREFORE, PREMISES CONSIDERED, Special Counsel requests that this

 Honorable Court enter a protective order prior to the disclosure of any further information by

 Special Counsel.

        RESPECTFULLY SUBMITTED this the 29th day of April, 2019.

                                                       /s/ Trent Lowry
                                                       Trent Lowry
                                                       Heath Meherg
                                                       Special Counsel

 OF COUNSEL:
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                                   CERTIFICATE OF SERVICE
        I hereby certify that I electronically filed and served a copy of the foregoing in the above-
 captioned case by using the CM/ECF system.

        Jospeh G. Pleva, Attorney for Debtor
        Michele T. Hatcher, Chapter 13 Trustee
        Richard M. Blythe, Assistant U.S. Bankruptcy Administrator

        DATED this the 29th day of April, 2019.

                                                       /s/ Trent Lowry
                                                       Trent Lowry
                                                       Heath Meherg
                                                       Special Counsel



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